             Case 22-33553 Document 220 Filed in TXSB on 03/21/23 Page 1 of 5
                                                                                                    United States Bankruptcy Court
                                                                                                        Southern District of Texas

                                                                                                            ENTERED
                                                                                                          March 21, 2023
                          IN THE UNITED STATES BANKRUPTCY COURT                                         Nathan Ochsner, Clerk
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                     )
    In re:                                                           ) Chapter 11
                                                                     )
    ALEXANDER E. JONES,                                              ) Case No. 22-33553 (CML)
                                                                     )
                              Debtor.                                )
                                                                     )

                   ORDER AUTHORIZING THE
                RETENTION AND EMPLOYMENT OF
    TENEO CAPITAL LLC AS FINANCIAL ADVISOR TO THE OFFICIAL
COMMITTEE OF UNSECURED CREDITORS, EFFECTIVE AS OF JANUARY 19, 2023

             Upon the application (the “Application”)1 of the Official Committee of Unsecured

Creditors (the “Committee”) appointed in the chapter 11 case of Alexander E. Jones (the “Debtor,”

and such case, the “Chapter 11 Case”) for entry of an order, pursuant to sections 328(a) and 1103(a)

of title 11 of the United States Code (the “Bankruptcy Code”), Rules 2014 and 2016 of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Rules 2014-1 and 2016-1 of the

Local Rules of Bankruptcy Practice and Procedure for the United States Bankruptcy Court for the

Southern District of Texas (the “Local Rules”) authorizing the Committee to retain and employ

Teneo Capital LLC (together with its affiliates, “Teneo”), as financial advisor; and upon the

declaration of Marc S. Kirschner (the “Kirschner Declaration”) in support of the Application; and

due and adequate notice of the Application having been given; and the Court finding, based on the

representations made in the Application and the Kirschner Declaration, that Teneo does not

represent any interest adverse to the Committee or creditors of this estate with respect to the matters

upon which it is to be engaged, that it is a “disinterested person,” as that term is defined in



1
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Application.
        Case 22-33553 Document 220 Filed in TXSB on 03/21/23 Page 2 of 5




Bankruptcy Code section 101(14), as modified by Bankruptcy Code section 1107(b), that its

employment is necessary and in the best interests of the Committee and the Debtor’s estate; and

finding that adequate notice of the Application having been given; and it appearing that no other

notice need be given; and after due deliberation and sufficient cause appearing therefor, it is hereby

ORDERED THAT:

       1.      The relief requested in the Application is granted as set forth herein.

       2.      In accordance with Bankruptcy Code sections 328 and 1103(a), Bankruptcy Rules

2014 and 2016 and Local Rules 2014-1 and 2016-1, the Committee is hereby authorized and

empowered to retain and employ Teneo as financial advisor in connection with the Chapter 11

Case and related matters and proceedings on the terms set forth in the Application and the

Kirschner Declaration, effective as of January 19, 2023, as modified herein.

       3.      Teneo shall be compensated in accordance with the procedures set forth in

Bankruptcy Code sections 330 and 331, the applicable Bankruptcy Rules, the applicable Local

Rules, applicable U.S. Trustee guidelines, the Order Granting Motion for Entry of an Order

Establishing Procedures for Interim Compensation and Reimbursement of Expenses for Chapter

11 Professionals, dated January 20, 2023 [ECF No. 106] and any other applicable procedures and

orders of the Court. For the avoidance of doubt, the rights of the Debtor and all other parties in

interest to object to court approval of fees and expenses on any basis permitted by the Bankruptcy

Code and applicable rules, including those typically raised as objection to employment

applications, are expressly reserved.

       4.      The following indemnification provisions are approved:

                (a) Subject to the provisions of subparagraphs (b) and (c) below, the Debtor is
                    authorized to indemnify, and shall indemnify, and hold harmless, Teneo for
                    any claims arising from, related to or in connection with Teneo’s engagement

                                                  2
        Case 22-33553 Document 220 Filed in TXSB on 03/21/23 Page 3 of 5




                   under the Application, but not for any claim arising from, related to or in
                   connection with Teneo’s postpetition performance of any other services, other
                   than those in connection with the engagement described in the Application,
                   unless such postpetition services and indemnification are approved by this
                   Court; and further, the Committee and third parties working with the
                   Committee in connection with this bankruptcy case shall look only to the
                   Debtor to satisfy any liability in connection with Teneo’s engagement under
                   the Application;

                (b) The Debtor shall have no obligation to indemnify or hold harmless Teneo for
                    any claim or expense that is either (i) judicially determined (the determination
                    having become final) to have arisen primarily from Teneo’s gross negligence,
                    willful misconduct or fraud unless the Court determines that indemnification
                    would be permissible pursuant to In re United Artists Theatre Company, et al.,
                    315 F.3d 217 (3d Cir. 2003) or (ii) settled prior to a judicial determination as
                    to Teneo’s gross negligence, willful misconduct or fraud, but determined by
                    this Court, after notice and a hearing, to be a claim or expense for which Teneo
                    is not entitled to receive indemnity under the terms of the Application; and

                (c) If, before the earlier of (i) the entry of an order confirming a chapter 11 plan
                    in this Chapter 11 Case (that order having become a final order no longer
                    subject to appeal) and (ii) the entry of an order closing this chapter 11 case,
                    Teneo believes that it is entitled to the payment of any amounts by the Debtor
                    on account of the Debtor’s indemnification obligations under the Application,
                    including, without limitation, the advancement of defense costs, Teneo must
                    file an application in this Court, and the Debtor may not pay any such amounts
                    to Teneo before the entry of an order by this Court approving the payment.
                    This subparagraph (c) is intended only to specify the period of time during
                    which the Court shall have jurisdiction over any request for fees and expenses
                    by Teneo for indemnification, and not as a provision limiting the duration of
                    the Debtor’s obligation to indemnify Teneo.

       5.      In the event that, during the pendency of this Chapter 11 Case, Teneo seeks

reimbursement, as expenses, for any attorneys’ fees and/or expenses, the invoices and supporting

time records from such attorneys shall be included in any such application filed with the Court,

and such invoices and time records shall be in compliance with the Local Rules and shall be subject

to approval of the Court under the standards of the Bankruptcy Code section 330 and 331, without

regard to whether such professional has been retained under Bankruptcy Code section 327;

provided, however, that Teneo shall not seek reimbursements from the Debtor’s estate for any fees

                                                 3
        Case 22-33553 Document 220 Filed in TXSB on 03/21/23 Page 4 of 5




incurred in defending any of Teneo’s fee applications in this Chapter 11 Case.

       6.        To the extent the Committee wishes to change the terms of retention or expand the

scope of Teneo’s services beyond the Services set forth in the Application, the Committee shall be

required to seek further approval of this Court. The Committee shall file notice of any proposed

changes to the terms of retention or any additional services the Court, and serve such notice on the

U.S. Trustee, the Debtor and any party requesting notice under Bankruptcy Rule 2002. If no such

party files an objection within ten (10) days of the Committee filing such notice, such changed or

additional services may be approved by the Court by further order without further notice or

hearing.

       7.        To the extent there is inconsistency between the terms of the Application, the

Kirschner Declaration and this Order, the terms of this Order shall govern.

       8.        Teneo shall use its reasonable efforts to coordinate with the Committee to avoid

duplication of any of the services provided to the Committee by any of its other retained

professionals.

       9.        Teneo will review its files periodically during the pendency of this Chapter 11 Case

to ensure that no conflicts or other disqualifying circumstances exist or arise. If any new relevant

facts or relationships are discovered or arise, Teneo will use reasonable efforts to identify such

further developments and will promptly file a supplemental declaration, as required by Bankruptcy

Rule 2014(a).

       10.       The terms and conditions of this Order shall be immediately effective and

determine all matters arising from the implementation of this Order.




                                                  4
       Case 22-33553 Document 220 Filed in TXSB on 03/21/23 Page 5 of 5




       11.      The Court shall retain jurisdiction to hear and determine all matters arising from

the implementation of this Order.



Dated: _______________, 2023
             August
             March 21,02, 2019
                       2023
                                              _________________________________________
                                             THE HONORABLE CHRISTOPHER M. LOPEZ
                                             UNITED STATES BANKRUPTCY JUDGE




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